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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Cynergy Data LLC
                                   Plaintiff,
v.                                                      Case No.: 1:18−cv−01459
                                                        Honorable John Z. Lee
BMO Harris Bank N.A.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 13, 2018:


        MINUTE entry before the Honorable John Z. Lee:Status hearing held on 6/13/18.
The parties report that MIDP disclosures have been exchanged. Initial written discovery
requests are to be served by 7/11/18; the deadline to amend the pleadings and join parties
is 8/1/18. Fact discovery shall close on 11/30/18. Status hearing set for 9/6/18 at 9:00 a.m.
Mailed notice(ca, )




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